Case 6:21-cv-04191-RRS-CBW Document 10 Filed 01/10/22 Page 1 of 1 PageID #: 279




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA

 AIG SPECIALTY INSURANCE                  §   CIVIL ACTION NO. 6:21-CV-04191-RRS CBW
 COMPANY (f/k/a CHARTIS                   §
 SPECIALTY INSURANCE                      §           JUDGE ROBERT R SUMMERHAYS
 COMPANY)                                 §
                                          §
 VS.                                      §           MAGISTRATE CAROL B WHITEHURST
                                          §
 KNIGHT OIL TOOLS, INC.                   §
                                          §         (ORAL ARGUMENT REQUESTED)

                                              ORDER

        CONSIDERING the Motion to Appear Proc Hac Vice filed by Michael P. “Mike”

 Morris., it is ordered that he be enrolled Pro Hac Vice to the bar of this court to appear on behalf

 of RIPPY OIL COMPANY in the above-described action.

                 SIGNED at Lafayette, Louisiana, this 10th day of January, 2022.
